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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

BITTERROOT HOLDINGS, LLC,                §      Cv. No. 5:14-CV-862-DAE
                                         §
      Plaintiff,                         §
                                         §
vs.                                      §
                                         §
MTGLQ INVESTORS, L.P. and                §
BARRETT, FRAPPIER, TURNER &              §
ENGEL, L.L.P.,                           §
                                         §
      Defendants.                        §



 ORDER DENYING MOTION TO REMAND AND DENYING MOTION FOR
               LEAVE TO AMEND COMPLAINT

             Before the Court are a Motion to Remand (Dkt. # 4) and a Motion for

Leave to Amend Complaint (Dkt. # 3) filed by Plaintiff Bitterroot Holdings, LLC

(“Plaintiff”). The Court held a hearing on the Motions on January 21, 2015. At

the hearing, Brian J. Trenz, Esq., represented Plaintiff; Jeremy J. Overby, Esq.,

represented Defendant MTGLP Investors, L.P. (“MTGLP”); and Mark D.

Hopkins, Esq., represented Defendant Barrett, Frappier, Turner & Engel, L.L.P.

(“Barrett”). Upon careful consideration of the arguments asserted at the hearing

and in the supporting and opposing memoranda, the Court DENIES Plaintiff’s

Motion to Remand and DENIES Plaintiff’s Motion for Leave to Amend

Complaint.


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                                  BACKGROUND

             On November 12, 2005, John Harvey (“Harvey”) executed a Texas

Home Equity Note (“Note”) in the amount of $94,320 payable to American Equity

Mortgage, Inc. (“AME”). (“Handville Aff.,” Dkt. # 10-1, Ex. A ¶ 6.) At the same

time, Harvey executed a Texas Home Equity Security Instrument (“Deed of

Trust”) granting a security interest in the property located at 534 Cliff Creek, San

Antonio, Texas 78251 to AME. (Id. ¶¶ 3, 6.) Mortgage Electronic Registration

Systems, Inc., as Nominee for AME, subsequently assigned the Note and the Deed

of Trust to Citimortgage, Inc. (“Citimortgage”). (Id. ¶ 7; Ex. A-3, Dkt. # 10-1 at

42.)

             On November 3, 2008, Citimortgage sent Harvey a Notice of Default

stating that Harvey was in default and that the loan would be accelerated if he did

not pay the past due amount. (Ex. A-6, Dkt. # 10-1 at 48.) On February 20, 2009,

Citimortgage sent Harvey a Notice of Acceleration stating that Citimortgage had

elected to accelerate the maturity of the debt. (Ex. A-7, Dkt. # 10-1 at 51.) After

Harvey failed to cure, Citimortgage filed an Application for Home Equity

Foreclosure Order in the 131st Judicial District Court of Bexar County, Texas on

April 22, 2009. (Ex. A-8, Dkt. # 10-1 at 52.) On November 3, 2009, Citimortgage

filed a motion to dismiss the application without prejudice, and the application was

later dismissed. (Ex. A-9, Dkt. # 10-1 at 93; Handville Aff. ¶ 11.) Citimortgage



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filed a second Application for Home Equity Foreclosure Order in the 150th

Judicial District Court of Bexar County, Texas on August 26, 2010. (Ex. A-10,

Dkt. # 10-1.) That application was dismissed without prejudice on March 31,

2011. (Ex. A-11, Dkt. # 10-1.)

            On November 4, 2010, Citimortgage assigned the note and security

interest to Defendant MTGLQ. (Ex. A-4, Dkt. #10-1 at 44; Handville Aff. ¶ 8.) In

2011, in a proceeding unrelated to the outstanding loan held by MTGLQ, the

property was sold at auction to DTND Sierra Investments, LLC (“DTND”) at a

Homeowner’s Association foreclosure sale due to Harvey’s failure to pay the

homeowner’s association assessments and dues. (“Am. Pet.,” Dkt. # 1-5 ¶ 12.)

Plaintiff was ultimately assigned the interest purchased by DTND. (Id.)

            On June 28, 2012, Defendant Barrett, acting as counsel for MTGLQ,

sent Harvey a new Notice of Default and opportunity to cure by paying the past

due balance. (Ex. A-12, Dkt. # 10-1 at 147–48.) On August 1, 2012, Barrett, on

behalf of MTGLQ, sent a Notice of Acceleration stating that MTGLQ had elected

to accelerate the maturity of the debt. (Ex. A-13, Dkt. # 10-1 at 154.) MTGLQ

filed an Application for Home Equity Foreclosure in the 166th Judicial District

Court of Bexar County, Texas on June 24, 2013. (Ex. A-14, Dkt. # 10-1 at 157.)

That court issued an order on November 8, 2013, allowing MTGLQ to proceed




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with a foreclosure sale under the terms of the Deed of Trust. (Ex. A-15, Dkt. # 10-

1 at 222.)

              Plaintiff filed an Original Petition in the 73rd Judicial District Court

of Bexar County, Texas on August 1, 2014. (Dkt. # 1–3.) Plaintiff filed an

Amended Petition adding claims against Barrett on September 4, 2014. (Am. Pet.,

Dkt. # 1-5.) Plaintiff alleges that the foreclosure proceedings initiated by MTGLQ

are barred by the statute of limitations and that its interest in the property is thus no

longer enforceable. (Id. ¶ 14.) Plaintiff further alleges that Barrett committed

fraud and violated the Texas Debt Collection Practices Act (“TDCPA”) by

misrepresenting the date of acceleration in MTGLQ’s foreclosure proceedings in

state court. (Id. ¶¶ 18, 23–24.) Plaintiff seeks a declaration that Plaintiff is the

owner of the property, a declaration that MTGLQ is barred from foreclosing on the

property by the statute of limitations, damages, and attorney’s fees. (Id. ¶¶ 21–22,

27–28.) Plaintiff’s Amended Petition also seeks a Temporary Restraining Order

prohibiting Defendants from foreclosing on the property. 1 (Id. ¶ 33.)

             MTGLQ filed a Notice of Removal on October 2, 2014, invoking this

court’s diversity jurisdiction. (Dkt. # 1.) On November 3, 2014, Plaintiff filed a

Motion to Remand (Dkt. # 4) and a Motion for Leave to File Amended Complaint

1
 Plaintiff has not separately moved for a Temporary Restraining Order in this
Court, and the memoranda on the instant Motions do not argue the issue. It is
unclear whether the foreclosure sale, originally scheduled for August 5, 2014,
(Am. Pet. ¶ 13), has occurred.

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(Dkt. # 3). MTGLQ filed a Response to Plaintiff’s Motion to Remand (Dkt. # 7)

and a Response to Plaintiff’s Motion for Leave to File Amended Complaint (Dkt.

# 8) on November 11, 2014. Barrett filed a Response in Opposition to Plaintiff’s

Motion to Remand (Dkt. # 9) and a Response to Plaintiff’s Motion for Leave to

Amend the same day (Dkt. # 8), and filed an Amended Response to Plaintiff’s

Motion to Remand on November 13, 2014 (Dkt. # 12). Plaintiff subsequently filed

replies to both Motions. (Dkt. ## 13, 16.)

                              LEGAL STANDARDS

A.    Motion to Remand

             A defendant may remove to federal court any civil action brought in

state court over which the district court would have had original jurisdiction.

28 U.S.C. § 1441(a); Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 397 (5th Cir.

2013). Original jurisdiction may be based on either diversity of citizenship or the

existence of a federal question. Halmekangas v. State Farm Fire & Cas. Co., 603

F.3d 290, 295 (5th Cir. 2010). On a motion to remand, the removing party bears

the burden of establishing that one of these bases of jurisdiction exists. Shearer v.

Sw. Serv. Life Ins. Co., 516 F.3d 276, 278 (5th Cir. 2008). Diversity jurisdiction

exists where the amount in controversy exceeds $75,000 and there is complete

diversity of citizenship between the parties—in other words, every plaintiff must

be diverse from every defendant. 28 U.S.C. § 1332(a); Harvey v. Grey Wolf



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Drilling Co., 542 F.3d 1077, 1079 (5th Cir. 2008); Caterpillar Inc. v. Lewis, 519

U.S. 61, 68 (1996).

             To determine whether jurisdiction is present, the court considers the

claims in the state court petition as they existed at the time of removal. Louisiana

v. Am. Nat’l Prop. Cas. Co., 746 F.3d 633, 637 (5th Cir. 2014) (citing Cavallini v.

State Farm Mut. Auto Ins. Co., 44 F.3d 256, 264 (5th Cir. 1995)). Because

removal jurisdiction implicates federalism concerns, all ambiguities must be

construed in favor of remand. Barker v. Hercules Offshore, Inc., 713 F.3d 208,

212 (5th Cir. 2013) (citing Manguno v. Prudential Prop. & Cas. Co., 276 F.3d 720,

723 (5th Cir. 2002)).

B.    Leave to Amend Complaint

             A party may amend its pleading once as a matter of course within 21

days after serving it, or if the pleading is one to which a responsive pleading is

required, 21 days after service of a responsive pleading or 21 days after service of

a motion under Federal Rule of Civil Procedure 12(b), (e), or (f), whichever is

earlier. Fed. R. Civ. P. 15(a)(1). “In all other cases, a party may amend its

pleading only with the opposing party’s written consent or the court’s leave. The

court should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2).

             Rule 15(a) evinces a bias in favor of granting leave to amend, Price v.

Pinnacle Brands, Inc., 138 F.3d 602, 608 (5th Cir. 1998), and a district court “must



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possess a substantial reason to deny a request for leave to amend,” Smith v. EMC

Corp., 393 F.3d 590, 595 (5th Cir. 2004) (internal quotation marks omitted). In

determining whether to grant a party leave to amend a complaint, courts consider

1) undue delay, 2) bad faith or dilatory motive, 3) repeated failure to cure

deficiencies by previous amendments, 4) undue prejudice to the opposing party,

and 5) futility of the amendment. Smith, 393 F.3d at 595. The determination of

whether to grant leave to amend is committed to the sound discretion of the district

court. Id.

             An amendment is futile if it could not survive a motion to dismiss.

Rio Grande Royalty Co., Inc. v. Energy Transfer Partners, L.P., 620 F.3d 465, 468

(5th Cir. 2010). “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)).

                                     DISCUSSION

A.    Motion to Remand

             Plaintiff argues that its claims against Defendant Barrett defeat the

Court’s diversity jurisdiction because Plaintiff and Barrett are both citizens of

Texas. (Dkt. # 4 ¶ 2–3; Am. Pet. ¶ 1–3.) Defendants respond that Barrett was

improperly joined and that the Court should therefore disregard Barrett’s



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citizenship in determining diversity jurisdiction under 21 U.S.C. § 1332(a). (Dkt.

# 7 ¶ 4; Dkt. # 12 ¶ 4.)

              “The Federal courts should not sanction devices intended to prevent

the removal to a Federal court where one has that right.” Smallwood v. Ill. Cent.

R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (en banc) (quoting 14 Charles Alan

Wright et al., Federal Practice and Procedure § 3641 (3d ed. 1998)). If the court

finds that a defendant has been improperly joined, the court may disregard that

defendant’s citizenship for purposes of determining diversity jurisdiction. Borden

v. Allstate Ins. Co., 589 F.3d 168, 171 (5th Cir. 2009). A showing of fraudulent

joinder can arise in one of two ways: (1) actual fraud in the pleading of

jurisdictional facts, or (2) inability of the plaintiff to establish a cause of action

against the non-diverse party in state court. Smallwood, 385 F.3d at 573. As there

are no allegations of actual fraud in this case, only the second method of

establishing fraudulent joinder is at issue.

              To succeed under the second method, the defendant must demonstrate

that “there is no possibility of recovery by the plaintiff against an in-state

defendant, which stated differently means that there is no reasonable basis for the

district court to predict that the plaintiff might be able to recover against an in-state

defendant.” Id. To make such a determination, courts apply a Rule 12(b)(6)-type

analysis, looking to the allegations in the complaint to determine whether there is a



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reasonable basis to predict whether the plaintiff might be able to recover against

the in-state defendant under state law. Id. Unlike in a traditional Rule 12(b)(6)

analysis, however, courts retain discretion to pierce the pleadings and examine

evidence to identify the presence of discrete and undisputed facts that would

preclude recovery against the in-state defendant. Id.; Great Plains Trust Co. v.

Morgan Stanley Dean Witter & Co., 313 F.3d 305, 311 (5th Cir. 2002). Any

contested issues of fact and ambiguities of state law must be resolved in favor of

the plaintiff. McKee v. Kan. City S. Ry. Co., 358 F.3d 329, 334 (5th Cir. 2004).

             Defendants argue that Barrett was improperly joined because there is

no possibility that Plaintiff can recover on its claims against Barrett. Specifically,

Defendants argue that 1) Barrett is protected from suit by qualified immunity;

2) Plaintiff has failed to submit sufficient factual allegations to maintain its claim

against Barrett for fraud; and 3) Plaintiff’s claims under the TDCPA must fail

because Barrett is not a debt collector, foreclosure is not “debt collection” covered

by the statute, and Plaintiff was not a party to the complained of foreclosure action.

      1.     Qualified Immunity

             The public has an interest in loyal, faithful, and aggressive

representation by the legal profession. Bradt v. West, 892 S.W.2d 56, 71 (Tex.

App. 1994). To promote zealous representation, Texas courts have held that an

attorney has qualified immunity from civil liability with respect to nonclients for



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actions taken in connection with representing a client. Id. at 72; Alpert v. Crain,

Caton & James, P.C., 178 S.W.3d 398, 405 (Tex. App. 2005). As a result, an

attorney may assert his client’s rights without fear of personal liability to the

opposing party. Miller v. Stonehenge/Fasa-Texas, JDC, L.P., 993 F. Supp. 461,

464 (N.D. Tex. 1998) (citing Bradt, 892 S.W.2d at 72).

             An attorney cannot be held liable to a third party for conduct that

requires “the office, professional training, skill, and authority of an attorney.”

Taco Bell Corp. v. Cracken, 939 F. Supp. 528, 532 (N.D. Tex. 1996) (citing Martin

v. Trevino, 578 S.W.2d 763, 771 (Tex. Civ. App. 1978)). The determination of

immunity “focuses on the kind of conduct engaged in, not on whether the conduct

was meritorious in the context of the underlying lawsuit.” Bradt, 892 S.W.2d at

72. Qualified immunity thus applies “even if conduct is wrongful in the context of

the underlying lawsuit.” Alpert, 178 S.W.3d at 406 (citing Renfroe v. Jones &

Assocs., 947 S.W.2d 285, 288 (Tex. App. 1997)).

             Under Texas law, legal counsel for a mortgage servicer with authority

to service a mortgage may deliver notices of default and foreclosure proceedings in

the course of its legal representation of the servicer. Givens v. Midland Mortg.

Co., 393 S.W.3d 876, 880 (Tex. Ct. App. 2012). Texas courts and district courts

interpreting Texas law have held that an attorney representing a client in

foreclosure proceedings is entitled to qualified immunity. See id. (citing Texas



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case law on attorney immunity in reference to Barrett’s actions taken in its

representation of a mortgage servicer); Campbell v. Mortg. Elec. Registration Sys.,

Inc., No. 03-11-429-CV, 2012 WL 1839357, at *6 (Tex. App. May 18, 2012)

(holding that the attorney defendants were immune from suit where the defendants

had no contact with the plaintiffs outside of their capacity as legal counsel retained

to assist in foreclosure proceedings); Tapia v. CitiMortgage, Inc., No. A-12-CA-

1015-SS, 2013 U.S. Dist. LEXIS 126981, at *11–12 (W.D. Tex. Jan. 2, 2013)

(holding that Barrett was immune from plaintiff’s claims because it was acting as

an attorney for CitiMortgage in pursuing foreclosure proceedings on its behalf).

             A lawyer’s protection from liability arising out of the representation

of a client is not without limits. See McCamish, Martin, Brown & Loeffler v. F.E.

Appling Interests, 991 S.W.2d 787, 793 (Tex. 1999). Where a lawyer acting for

his client participates in fraudulent activities, his action is “foreign to the duties of

an attorney.” Poole v. Hous. & T.C. Ry., 58 Tex. 134, 137 (1882). A cause of

action may exist against an attorney who knowingly commits a fraudulent act

outside the scope of his legal representation of the client. Alpert, 178 S.W.3d at

406. An attorney cannot avoid liability on the ground that he was acting as an

agent for his client if he knowingly commits a fraudulent act that injures a third

person. Toles v. Toles, 113 S.W.3d 899, 911 (Tex. App. 2003); Likover v.

Sunflower Terrace II, Ltd., 696 S.W.2d 468, 472 (Tex. App. 1985).



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             Here, the conduct alleged in Plaintiff’s Amended Petition was

undertaken by Barrett as counsel for Defendant MTGLQ in proceedings to

foreclose on Harvey’s property. (See Ex. A-12, Dkt. # 10-1 at 147; Ex. A-13, Dkt.

# 10-1 at 154.) Barrett is therefore entitled to qualified immunity absent a showing

that Barrett knowingly committed a fraudulent act that injured a third person.

Here, Plaintiff’s claim of fraud is based on the allegation that Barrett pursued

foreclosure proceedings on behalf of MTGLQ knowing that the claim was barred

by the statute of limitations and issued the 2012 Notice of Acceleration in order to

mislead Plaintiff and the state court and avoid the limitations bar. (Am. Pet. ¶¶ 18,

23–24.)

             Under Texas law, a sale of real property under a power of sale in a

mortgage or deed of trust that creates a real-property lien must be made not later

than four years after the day the cause of action accrues. Tex. Civ. Prac. & Rem.

Code § 16.035(b). When the four-year period expires, the lien and the power of

sale become void. Tex. Civ. Prac. & Rem. Code § 16.035(d); Holy Cross Church

of God in Christ v. Wolf, 44 S.W.3d 562, 567 (Tex. 2001). If a note or deed of

trust secured by real property contains an optional acceleration clause, the action

accrues only when the holder actually exercises its option to accelerate. Wolf, 44

S.W.3d at 566. Effective acceleration requires two acts: (1) notice of intent to

accelerate, and (2) notice of acceleration. See Shumway v. Horizon Credit Corp.,



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801 S.W.2d 890, 892 (Tex. 1991). Both notices must be “clear and unequivocal.”

Id. at 893.

              Even when a noteholder has accelerated a note upon default, the

holder can abandon acceleration if the holder continues to accept payments without

exacting any remedies available to it upon declared maturity. Id. at 566–67.

Acceleration can also be abandoned by agreement of the parties. Khan v. GBAK

Props., Inc., 371 S.W.3d 347, 356 (Tex. App. 2012) (citing San Antonio Real

Estate, Bldg. & Loan Ass’n v. Stewart, 61 S.W. 386, 388 (Tex. 1901)).

Additionally, where a debtor makes no objection, a creditor can abandon or rescind

its acceleration by voluntarily dismissing its claims against the debtor. Denbina v.

City of Hurst, 516 S.W.2d 460, 463 (Tex. Civ. App. 1974) (holding that “where the

payor makes no objection to the recall of the option, we see no reason why the

[payee] could not revoke the same as well as not to have exercised it in the

beginning”); DTND Sierra Invs. LLC v. Bank of N.Y. Mellon Trust Co., N.A., 958

F. Supp. 2d 738, 749–750 (W.D. Tex. 2013) (holding that unilateral notices of

rescission were sufficient to abandon acceleration); In re Rosas, 520 B.R. 534, 540

(W.D. Tex. 2014) (“The parties can establish abandonment through an agreement

or their actions alone, including unilateral actions in certain circumstances.” (citing

Khan, 371 S.W.3d at 353)); cf. Callan v. Deutsche Bank Trust Co. Americas, 11 F.

Supp. 3d 761, 769 (S.D. Tex. 2014) (finding “no support for the proposition that a



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noteholder may unilaterally rescind an option to accelerate where a debtor has

acted in reliance on the fact of the acceleration” (emphasis added)).

             Here, the prior Notices of Acceleration issued by Citimortgage,

MTGLQ’s predecessor in interest, were abandoned when Citimortgage dismissed

its claims without prejudice in state court. The 2012 Notice of Acceleration sent

by Barrett was thus a valid action to give notice of acceleration of the outstanding

debt held by MTGLQ, and therefore cannot be the basis of a claim for fraud. 2

Because Barrett was acting as counsel for MTGLQ in the foreclosure proceeding,

it is entitled to qualified immunity for its conduct arising out of that representation,

and the Court therefore finds no reasonable basis to predict that Plaintiff may be

able to recover from Barrett in state court.

      2.     Texas Debt Collection Practices Act

             Plaintiff’s claim against Barrett for violation of the TDCPA is also

barred by qualified immunity. Even if this claim were not so barred, it would

nevertheless fail. Under the TDCPA, “a debt collector may not use a fraudulent,

deceptive, or misleading representation” by “misrepresenting the character, extent,

or amount of a consumer debt, or misrepresenting the consumer debt’s status in a

judicial or governmental proceeding.” Tex. Fin. Code § 392.304(a)(8). “Debt


2
 Because the conduct upon which Plaintiff bases its fraud claim was lawful, the
Court will not address Defendants’ further argument that Plaintiff failed to plead
sufficient factual allegations to support its claim for fraud.

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collector” is defined to mean “a person who directly or indirectly engages in debt

collection,” id. § 392.001(6), and includes third-party debt collectors as well as

mortgage servicers and assignees, Davis v. Wells Fargo Bank, N.A., 976 F. Supp.

870, 885 (S.D. Tex. 2013) (citing Miller v. BAC Home Loans Servicing, L.P., 726

F.3d 717, 722 (5th Cir. 2013)).

             The remedies afforded by the TDCPA are not limited to the actual

parties to a consumer transaction, and “[a]ny person against whom the prohibited

acts are committed may maintain an action for actual damages sustained as a result

of those violations.” Cushman v. GC Servs., LP, 657 F. Supp. 2d 834, 841 (S.D.

Tex. 2009) (citing Campbell v. Beneficial Fin. Co. of Dall., 616 S.W.3d 373, 375

(Tex. App. 1981) (allowing a nondebtor plaintiff to bring suit for harassing phone

calls because the alleged abuses were committed directly against her)); see also

Brush v. Wells Fargo Bank, N.A., 911 F. Supp. 2d 445, 472 (S.D. Tex. 2012);

Porterfield v. JP Morgan Chase, N.A., No. SA-12-CV-815-DAE, 2014 WL

3581183, at *21–22 (W.D. Tex. 2014).

             Here, Plaintiff’s claim fails because the complained-of conduct was

not fraudulent or misleading. As discussed above, the 2012 Notice of Acceleration

sent by Defendant Barrett was a valid action to pursue foreclosure proceedings

following the prior abandonment of acceleration by Defendant MTGLQ’s

predecessor in interest, Citigroup. Defendant Barrett therefore did not



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misrepresent the date of acceleration to the state court or anyone else.

Additionally, Plaintiff does not have standing to bring a claim against Defendant

Barrett under the TDCPA because the conduct in question—sending the 2012

Notice of Acceleration and representing the acceleration date in state court—was

directed to Harvey and the state court, not against Plaintiff.

             Because Plaintiff’s claims against Defendant Barrett for fraud and

violations of the TDCPA fail as a matter of law, the Court finds no reasonable

basis for predicting that Plaintiff will be able to recover against Barrett in state

court. The Court therefore finds that Defendant Barrett was improperly joined, and

will not consider Barrett’s citizenship for the purpose of determining diversity

jurisdiction. Because Plaintiff is diverse from Defendant MTGLQ and the amount

in controversy exceeds $75,000 (Dkt. # 1 ¶¶ 7–9, 19–23), the Court finds that

diversity jurisdiction exists and DENIES Plaintiff’s Motion to Remand.

B.    Motion for Leave to Amend

             Plaintiff’s proposed Amended Complaint does not assert new parties

or additional causes of action, but instead adds specificity to its allegations of fraud

against Defendant Barrett. (Dkt. # 3 at 3–4.) The basis for Plaintiff’s fraud claim

against Defendant Barrett in its proposed Amended Complaint remains the same as

in its Amended Petition analyzed above—that is, Plaintiff alleges that Defendant

Barrett fraudulently sent the 2012 Notice of Acceleration and misrepresented the



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actual date of acceleration to the state court in order to evade the four-year statute

of limitations. (Dkt. # 3-1 ¶¶ 17–20.) As discussed above, the 2012 Notice of

Acceleration was a lawful act to pursue foreclosure proceedings following the prior

abandonment of acceleration by Defendant MTGLQ’s predecessor in interest, and

Plaintiff’s claims against Defendant Barrett for fraud and for violations of the

TDCPA fail as a matter of law. Because the proposed amendment would not cure

this deficiency, the Court finds that it would be futile and therefore DENIES

Plaintiff’s Motion for Leave to Amend.

                                   CONCLUSION

              For the foregoing reasons, the Court DENIES Plaintiff’s Motion to

Remand (Dkt. # 4) and DENIES Plaintiff’s Motion for Leave to Amend Complaint

(Dkt. # 3).

              IT IS SO ORDERED.

              DATE: San Antonio, Texas, January 27, 2015.




                                               _____________________________________
                                               David Alan Ezra
                                               Senior United States Distict Judge




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